      Case 4:16-cv-00643-RH-CAS Document 33 Filed 01/31/17 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

JOHN DOE,

             Plaintiff,

vs.                                            CASE NO. 4:16cv643-RH/CAS

FLORIDA BOARD OF BAR
EXAMINERS,

          Defendant.
_____________________________/


      STIPULATION FOR STAY PENDING DISPOSITION OF
PLAINTIFF’S APPLICATION FOR ADMISSION TO THE FLORIDA BAR

      Plaintiff John Doe (“Plaintiff”) and Defendant Florida Board of Bar

Examiners (“Board”) file this stipulation and jointly request that the Court enter a

stay of this case pending final disposition of the Plaintiff’s application for admission

to The Florida Bar and state as follows:

      1.     Plaintiff filed the Complaint in this matter on October 14, 2016,

alleging that the Board violated Plaintiff’s rights under Title II of the Americans

with Disabilities Act, 42 U.S.C. §12132 et seq. (“ADA”) during the course of his bar

admission proceeding. (ECF No. 1).

      2.     Plaintiff also filed a motion for injunctive relief regarding the Board’s

decision to require Plaintiff to undergo a substance use disorder evaluation and a
       Case 4:16-cv-00643-RH-CAS Document 33 Filed 01/31/17 Page 2 of 3




psychiatric evaluation by a physician approved by the Board, as part of the Board’s

investigation of Plaintiff’s character and fitness for admission. (ECF No. 4).

       3.     The Board filed a motion to dismiss the Complaint (ECF No. 21), and

the Board’s motion to dismiss remains pending. The Court entered an Order

staying discovery pending disposition of the Board’s motion to dismiss. (ECF No.

25).

       4.     Due to a change in Board policy, the Plaintiff has been scheduled for an

investigative hearing before the Board without having to first undergo a substance

use disorder evaluation or a psychiatric evaluation.

       5.     Given the foregoing, the parties have stipulated to a stay of the

litigation of this matter pending final disposition of Plaintiff’s application for

admission to The Florida Bar.

       6.     The parties submit that a stay is appropriate under the circumstances, is

in the interests of justice and will also serve to conserve judicial resources.

       WHEREFORE, the Plaintiff John Doe and the Defendant Florida Board of

Bar Examiners request that the Court enter a Stay of this case pending final

disposition of the Plaintiff’s application for admission to The Florida Bar.




                                           2
      Case 4:16-cv-00643-RH-CAS Document 33 Filed 01/31/17 Page 3 of 3




      Respectfully submitted,

    /s/ Richard E. Johnson                    /s/James J. Dean
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                                              Attorneys for Defendant


                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a copy of the foregoing has been furnished

electronically using CM\ECF to the following this 31st day of January, 2017:

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                                      /s/James J. Dean
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                                        3
